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Amen dinents Retro activity Of Amendment 182%

Reason Lor Amendment: This amend ment expands

the. listing jn S$ 7BI sO lo) 40 imp/ement the oAirectiye
an 2§ UL S.C. 9994 (4) with respect to guideline
‘amend ments that may he Considered for retroactive
application, The Commission has clefermined that Amendment
7182, subject fo me the limitation in new § IBY./0.@)
clelay ing the effective date of sentence reduction

orders anti! November |, 20/5, Shovid be applied retroactively,

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‘fend ment 782 red udeal by two /evels the offense

. ! levels &s%igned fo the quahtities that trigger the Statutory

mandatory minimum penaltes in §Z2P IL, and made paralfe/
Chang es fo §2Dj. il. Under +he applicable standards
Sed forth tn the ‘back ground “Commentary fe § JBh70,
the Commission Considers the factors, among Others ‘

() the Purpose Of the amend ment (2) the magn) tude
of the change in the guldeline range made by Hé
amendment, and (3) the AF ficulty of epnlying the
amend ment retro actively.
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